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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PERRIS J. LEE,                                      Case No. 18-cv-03689-HSG
                                   8                     Plaintiff,                          ORDER GRANTING EXTENSION OF
                                                                                             TIME TO FILE DISPOSITIVE
                                   9              v.                                         MOTION
                                  10     E. KNOX, et al.,                                    Re: Dkt. No. 57
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Good cause being shown, Defendants’ request for an extension of time to file their

                                  14   dispositive motion is GRANTED. Dkt. No. 57. Defendants shall file their dispositive motion by

                                  15   January 10, 2022. Plaintiff’s opposition to the dispositive motion must be filed with the Court and

                                  16   served upon Defendants no later than 28 days from the date the motion is filed. Defendants shall

                                  17   file a reply brief in support of their dispositive motion no later than 14 days after the date the

                                  18   opposition is filed. The motion shall be deemed submitted as of the date the reply brief is due. No

                                  19   hearing will be held on the motion.

                                  20          This order terminates Dkt. No. 57.

                                  21          IT IS SO ORDERED.

                                  22   Dated: 11/10/2021

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                                                                                         HAYWOOD S. GILLIAM, JR.
                                  24                                                     United States District Judge
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